                                                                            Motion GRANTED.
                                                                            Sentencing RESET for 1/24/13
                                                                            at 2:00 p.m.

                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                    )
                                            )
v.                                          )       Case No. 3:11-00082
                                            )       Judge Trauger
CLANISHIA ALLEN                             )


                   MOTION TO CONTINUE SENTENCING HEARING

       COMES NOW the Defendant, Clanishia Allen, by and through her undersigned counsel,

and hereby moves this Honorable Court to continue to her Sentencing Hearing from November 20,

2012 to a date in January 2013. In support hereof, Defendant Allen states as follows:

1.     Defendant Allen is slated for Sentencing on Tuesday, November 20, 2012 at 1:00 p.m.

2.     Undersigned counsel has developed an irreconcilable scheduling conflict with the above

       setting and respectfully requests the Sentencing be continued. Because of a number of

       pressing deadlines and upcoming substantive hearings through the end of 2012,

       undersigned counsel respectfully requests that this matter be reset for a date in January

       2013.

3.     USA Sunny Koshy has authorized undersigned counsel to report that he has no objection to

       a continuance of Defendant Allen’s sentencing until January 2013.

       WHEREFORE, based on the foregoing, Defendant Allen respectfully requests that this

Honorable Court continue her Sentencing Hearing from Tuesday, November 20, 2012 to a date in

January 2013




                                                1


Case 3:11-cr-00082       Document 1161          Filed 11/09/12   Page 1 of 1 PageID #: 3791
